      Case 2:10-cr-00176-KJD-PAL           Document 72       Filed 10/28/10     Page 1 of 1




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 3                           UNITED STATES DISTRICT COURT
 4                                    DISTRICT OF NEVADA
 5

 6   UNITED STATES OF AMERICA,

 7          Plaintiff,                                 Case No. 2:10-CR-00176-KJD-PAL

 8   v.                                                ORDER

 9   JORDAN WILLIAMS,

10          Defendant.

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12          Presently before the Court are the Objections (#69/70) of the parties to the Order and

13   Findings and Recommendations (#68) of the magistrate judge. Plaintiff’s objections to the Report

14   and Recommendation were filed on October 18, 2010. Defendant’s response is due November 4,

15   2010. Defendant Jordan Williams’ objections were filed October 24, 2010. Plaintiff’s response is

16   due November 10, 2010. Jury trial in this action is set for November 8, 2010. Calendar call is set for

17   November 2, 2010. Accordingly, the Court finds good cause to shorten the time to file responses to

18   the objections. Any response to an objection must be filed no later than Friday, October 29, 2010 at

19   4 P.M. Any reply in support of the objection must be filed no later than Monday, November 1, 2010

20   at 12 P.M.

21   IT IS SO ORDERED.

22          DATED this 28TH day of October 2010.

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                                                  Kent J. Dawson
26                                                United States District Judge
